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 7                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
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 9   UNIVERSAL LIFE CHURCH                              No. 2:19-CV-00301-RSL
     MONASTERY STOREHOUSE, a
10   Washington non-profit corporation,
                    Plaintiff,                          DECLARATION OF DALLAS
11                                                      GOSCHIE IN SUPPORT OF
           vs.                                          PLAINTIFF’S OPPOSITION TO
12                                                      DEFENDANT AMM’s MOTION
     MAURICE KING, LEWIS KING, GLEN
13   YOSHIOKA, DYLAN WALL, SARA                         TO COMPEL
     WHITE, and AMERICAN MARRIAGE
14   MINISTRIES, a Washington non-profit
     corporation,                                       Date Noted: Friday, March 27, 2020
15
                    Defendants.
16

17
     I, Dallas Goschie, declare and state as follows:
18
             1.      I am over the age of 18 years of age, am competent to testify, and make this
19

20   declaration from facts within my personal knowledge.

21           2.      I am the Operations Manager for Plaintiff Universal Life Church Monastery (“ULC

22   Monastery”), and provide this Declaration with its Opposition to Defendant AMM’s Motion to
23   Compel.
24
            3.       ULC Monastery is a Church with a physical office and rectory at which it has held
25
     religious events. Registered in Washington in 2006, ULC Monastery descends from the Universal
26



      DECLARATION OF DALLAS GOSCHIE IN                             PUGET SOUND BUSINESS & LITIGATION
                                                                    411 UNIVERSITY STREET, SUITE 1200
      SUPPORT OF PLAINTIFF’S OPPOSITION TO                            SEATTLE, WASHINGTON 98101
      DEFENDANT AMM’s MOTION TO COMPEL – 1                              TELEPHONE: (206) 374-8500
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 1   Life Church originally founded in California by Kirby Hensley, but is a separate and distinct

 2   organization with its own structure. It allows anyone who feels so called to become an ordained
 3
     minister. Ordination can be completed on-line, and is without charge.
 4
            4.       Four of the five individually named Defendants, Maurice King, Lewis King, Glen
 5
     Yoshioka, and Dylan Wall worked for ULC Monastery (all but Defendant White). Defendants
 6
     Yoshioka and Wall left ULC Monastery and formed Defendant AMM in July 2009. According to
 7

 8   its website, AMM registered with the IRS as a “public charity.”

 9           5.      My principal duties with ULC Monastery include overseeing and managing its
10   books and records. I am the one that primarily interfaces with the accountants as to financial
11
     matters.
12
             6.      With respect to documents regarding ULC Monastery’s “assets and liabilities,”
13
     ULC Monastery does not typically or part of its normal operations prepare or utilize a report or
14

15   other document that shows or lists its assets and liabilities.

16           7.      In discussing the matter with ULC Monastery’s accountant, it is possible to

17   generate a report that will list certain assets and liabilities. However, in looking at that report with
18   our accountant recently, we found that this report is inaccurate. It contains legacy items that are
19
     dated and should not be included, and also contains duplicates of certain items.
20
             8.      Further, such report is only designed to list what is current (with the inaccuracies I
21
     noted above). For example, it would show the current bank account balance, and the current
22

23   amount owed on a credit card. It will not reflect purchases made from ULC Monastery by

24   ministers, nor when those purchases were made. Instead, it would also include items that are

25   unrelated to purchases and expenditures, such as amounts owed to or by ULC Monastery.
26



      DECLARATION OF DALLAS GOSCHIE IN                                 PUGET SOUND BUSINESS & LITIGATION
                                                                        411 UNIVERSITY STREET, SUITE 1200
      SUPPORT OF PLAINTIFF’S OPPOSITION TO                                SEATTLE, WASHINGTON 98101
      DEFENDANT AMM’s MOTION TO COMPEL – 2                                  TELEPHONE: (206) 374-8500
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 1           9.     There are two entities that may be considered “related” to ULC Monastery. Both

 2   have been disclosed in this litigation to American Marriage Ministries, and ULC Monastery
 3
     provided documents requested by AMM.
 4
             10.    Neither of those two entities allow for any purchases by ministers. The amounts
 5
     paid by ministers for purchases made through ULC Monastery have not been, and are not,
 6
     transferred into any account held by either of those entities. Nor are any income or proceeds of
 7

 8   purchases attributed to either of those entities.

 9

10          I declare under penalty of perjury under the laws of the United States of America that the
     foregoing is true and correct.
11

12                  Executed this 20th day of March 2020 at Seattle, WA.
13

14
                                             ___________________________
15                                           Dallas Goschie
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      DECLARATION OF DALLAS GOSCHIE IN                             PUGET SOUND BUSINESS & LITIGATION
                                                                    411 UNIVERSITY STREET, SUITE 1200
      SUPPORT OF PLAINTIFF’S OPPOSITION TO                            SEATTLE, WASHINGTON 98101
      DEFENDANT AMM’s MOTION TO COMPEL – 3                              TELEPHONE: (206) 374-8500
